  Case 1:22-cv-01206-RGA Document 5 Filed 09/27/22 Page 1 of 2 PageID #: 29




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


LILI WAN,                                      :
                                               :
                       Plaintiff,              :
                                               :
               v.                              :       Civil Action No. 22-1206-RGA
                                               :
CENTRAL TRANSPORT, INC.,                       :
                                               :
                       Defendant.              :


                                     SCHEDULING ORDER



       This 27th day of September, 2022, IT IS ORDERED THAT;

       1. Discovery.

           a. Discovery Cut Off. All discovery in this case shall be initiated so that it will be

completed on or before January 27, 2023.

       2. Courtesy Copies. The parties shall provide to the Court two courtesy copies of all

briefs and one courtesy copy of any other document filed in support of any briefs (i.e.,

appendices, exhibits, declarations, affidavits etc.). This provision also applies to papers filed

under seal.

       3. Case Dispositive Motions. All case dispositive motions, an opening brief, and

affidavits, if any, in support of the motion shall be served and filed on or before May 26, 2023.

No case dispositive motion under Rule 56 may be filed more than ten days before the above date

without leave of the Court.
  Case 1:22-cv-01206-RGA Document 5 Filed 09/27/22 Page 2 of 2 PageID #: 30




       4. Pretrial Conference and Trial. The pretrial conference and trial dates will be set for a

date to be determined.




                                               /s/ Richard G. Andrews
                                             UNITED STATES DISTRICT JUDGE
